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     14
                              UNITED STATES DISTRICT COURT
     15
                           SOUTHERN DISTRICT OF CALIFORNIA
     16
        TARLA MAKAEFF, et al., on Behalf of ) No. 3:10-cv-0940-GPC(WVG)
     17 Themselves and All Others Similarly      )
        Situated,                                ) CLASS ACTION
     18                                          )
                                   Plaintiffs,   ) DECLARATION OF RACHEL L.
     19                                          ) JENSEN IN SUPPORT OF
               vs.                               ) PLAINTIFF/COUNTER
     20                                          ) DEFENDANT MAKAEFF’S
        TRUMP UNIVERSITY, LLC, et al.,           ) SUPPLEMENTAL BRIEF
     21                                          ) REGARDING SPECIAL MOTION TO
                                   Defendants. ) STRIKE DEFENDANT/ COUNTER-
     22                                          ) CLAIMANT TRUMP UNIVERSITY’S
                                                    COUNTERCLAIM PURSUANT TO
     23 [Caption continued on following page.]      CALIFORNIA CODE OF CIVIL
                                                    PROCEDURE §425.16
     24
                                                    JUDGE:   Hon. Gonzalo P. Curiel
     25                                             DATE:    March 28, 2014
                                                    TIME:    1:30 p.m.
     26                                             CTRM:    2D (Schwartz)
     27
     28

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      1 TRUMP UNIVERSITY, LLC,            )
                                          )
      2                 Counterclaimant, )
                                          )
      3       vs.                         )
                                          )
      4   TARLA MAKAEFF, et al.,          )
                                          )
      5               Counter defendants. )
                                          )
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            1        I, RACHEL L. JENSEN, declare as follows:
            2        1.       I am an attorney duly licensed to practice before all of the courts of the
            3 State of California. I am a member with the law firm of Robbins Geller Rudman &
            4 Dowd LLP, one of counsel of record for Plaintiffs and the proposed Class. I have
            5 personal knowledge of the matters stated herein and, if called upon, I could and would
            6 competently testify thereto.
            7        2.       I submit this declaration in support of Plaintiff/Counter Defendant
            8 Makaeff’s Supplemental Brief Regarding Special Motion to Strike Defendant/
            9 Counterclaimant Trump University’s Counterclaim Pursuant to California Code of
       10 Civil Procedure §425.16.
       11            3.       Attached hereto are true and correct copies of the following Exhibits:
       12           Exhibit                   Document Description                        Page
       13            No.                                                                  Nos.

       14                 1    Letter from Tarla Makaeff to Debit Dispute                    1-19
                               Department, Bank of America, dated September 10,
       15                      2009;

       16                 2    Letter from the Better Business Bureau Serving               20-27
                               Metropolitan New York to Brad Schneider, Trump
       17                      University, dated November 2, 2009;

       18                 3    Excerpt from the August 4, 2010 Transcript of Motion         28-30
                               Hearing before The Honorable Irma E. Gonzalez;
       19
                          4    TU-MAKAEFF5029-31, email string from Tarla                   31-33
       20                      Makaeff to Justin Kramer of Trump University
                               Coaching, dated October 1, 2008;
       21
                          5    TU-PLTF02048, email from Jason Scorup of Trump               34-35
       22                      University Coaching, dated October 26, 2007;
       23                 6    TU 52934-53105, Trump University 2010 PlayBook,             36-208
                               Exhibit 8 to the Deposition of Michael Sexton, taken
       24                      August 23, 2012 [filed under seal];
       25                 7    Excerpts from the rough deposition transcript of Tarla    209-224
                               Makaeff, taken February 10, 2014 (Volume IV);
       26
                          8    TU-MAKAEFF2317-18,Trump Goal Setting Sheet                225-227
       27                      for Tarla Makaeff, [filed under seal];
       28

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            1        Exhibit                 Document Description                     Page
            2         No.                                                             Nos.

            3           9      TU-DONNELLY0000001-20, Trump University               228-248
                               Marketing Guidelines, Exhibit 4 to the Deposition
            4                  of Cheryl Donnelly, taken November 2, 2012.

            5          10      TU 129850-51, letter from New York State Education    249-251
                               Department (“NYSED”) to Donald Trump, dated
            6                  March 30, 2010;

            7          11      NYSED 000067-68, letter from NYSED to Gillian         252-254
                               Bernie, dated June 15, 2010;
            8
                       12      NYSED 000106-107, letter from NYSED to Donald         255-257
            9                  Trump, dated May 27, 2005; and
       10              13      TU 01576-78, Certificate of Amendment of Articles     258-261
                               of Organization of Trump University, LLC.
       11
                      I declare under penalty of perjury under the laws of the United States of
       12
                America that the foregoing is true and correct. Executed this 14th day of February,
       13
                2014, at San Diego, California.
       14
       15
                                                                  s/ Rachel L. Jensen
       16                                                        RACHEL L. JENSEN
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            1                            CERTIFICATE OF SERVICE
            2        I hereby certify that on February 14, 2014, I authorized the electronic filing of
            3 the foregoing with the Clerk of the Court using the CM/ECF system which will send
            4 notification of such filing to the e-mail addresses denoted on the attached Electronic
            5 Mail Notice List, and I hereby certify that I caused to be mailed the foregoing
            6 document or paper via the United States Postal Service to the non-CM/ECF
            7 participants indicated on the attached Manual Notice List.
            8        I certify under penalty of perjury under the laws of the United States of America
            9 that the foregoing is true and correct. Executed on February 14, 2014.
       10                                                  s/ Rachel L. Jensen
                                                           RACHEL L. JENSEN
       11
                                                           ROBBINS GELLER RUDMAN
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Mailing Information for a Case 3:10-cv-00940-GPC-WVG
Makaeff v. Trump University, LLC et al
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Manual Notice List
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your word processing program in order to create notices or labels for these recipients.

z   (No manual recipients)




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